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                                                                             Page 6
 1                  UNITED STATES DISTRICT COURT
 2                NORTHERN DISTRICT OF CALIFORNIA
 3                       SAN JOSE DIVISION
 4

 5   APPLE INC., a California        )
     Corporation,                    )
 6                                   )
            Plaintiff,               )
 7                                   )
     vs.                             )No. 11-CV-01846-LHK
 8                                   )
     SAMSUNG ELECTRONICS CO., LTD. , )
 9   a Korean business entity;       )
     SAMSUNG ELECTRONICS AMERICA,    )
10   INC., a New York corporation;   )
     SAMSUNG TELECOMMUNICATIONS      )
11   AMERICA, LLC, a Delaware        )
     limited liability company,      )
12                                   )
            Defendants,              )
13   _____________________________   )
14

15            BE IT REMEMBERED, that on Wednesday,
16   February 22, 2012, commencing at the hour of 9:12
17   a.m. thereof, at the offices of Morrison & Foerster,
18   755 Page Mill Road, Palo Alto, California, before
19   me, Judie A. Nicholas, a Certified Shorthand
20   Reporter of the State of California, there
21   personally appeared.
22                     TIMOTHY BENNER,
23   called as a witness by the Plaintiff, who, being by
24   me first duly sworn, was thereupon examined and
25   testified as hereinafter set forth.

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                                                                              Page 8
 1   firm represents Apple, Inc.                                               09:12
 2              MS. CARUSO:     Margret Caruso of Quinn                        09:12
 3   Emanuel Urquhart & Sullivan.          With me is Michelle                 09:12
 4   Yang from Samsung.                                                        09:12
 5              THE VIDEOGRAPHER:       Thank you.                             09:12
 6              Would the reporter please swear in the                         09:12
 7   witness.                                                                  09:12
 8                         TIMOTHY BENNER,                                     09:12
 9                    being first duly sworn,                                  09:12
10            was deposed and testified as follows:                            09:12
11              THE VIDEOGRAPHER:       Thank you.                             09:12
12                 EXAMINATION BY MR. ROBINSON                                 09:12
13              MR. ROBINSON:      Good morning, Mr. Benner.                   09:12
14   Thank you for being here.                                                 09:12
15              Could you please state your full name for                      09:12
16   the record.                                                               09:12
17        A.    Timothy John Benner.                                           09:12
18        Q.    Have you ever been deposed before?                             09:12
19        A.    I have not.                                                    09:12
20        Q.    So the procedures are -- it's fairly                           09:12
21   simple, but I just want to review a few of the                            09:12
22   rules.                                                                    09:12
23              The court reporter here is taking down                         09:12
24   everything that we say.        I might speak a little                     09:12
25   quickly, in which case she might grumble a little                         09:13


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                                                                           Page 126
 1              THE WITNESS:      The question I think you're                  12:17
 2   asking is, is there more than one.            There's one                 12:17
 3   survey.                                                                   12:17
 4        Q.    There's one tracking survey?
                                           ?                                   12:17
 5        A.    That I conduct.                                                12:17
 6        Q.    Thank you.                                                     12:17
 7              And how does that tracking survey work?                        12:17
 8   You said it tracks across time; is that right?
                                                  ?                            12:17
 9        A.    Yes.                                                           12:17
10        Q.    Is it the same study that is administered                      12:17
11   at different points in time?
                                ?                                              12:17
12              MS. CARUSO:     Objection:      Vague.                         12:17
13              THE WITNESS:      The survey itself is                         12:17
14   modular.    There are elements that are consistent                        12:18
15   across time and then there are pieces that come and                       12:18
16   go as we look at different communication and the                          12:18
17   effectiveness of that communication.                                      12:18
18              It's primarily brand focused, but it's                         12:18
19   also looking at monitoring communications, so our                         12:18
20   different ads and some competitive ads --                                 12:18
21              MR. CARUSO:     Mr. Robinson, before you go                    12:18
22   on to another topic, I've had this Pavlovian                              12:18
23   response since your client announced lunch.                               12:18
24              MR. ROBINSON:      Oh, I'm so sorry, I                         12:18
25   completely forgot.                                                        12:18


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                                                                           Page 127
 1             Let's take a break for lunch.                                   12:18
 2             THE VIDEOGRAPHER:        The time is 12:18 p.m.,                12:18
 3   and we're off record.                                                     12:18
 4                   (A lunch break was taken.)                                01:23
 5                        AFTERNOON SESSION                                    01:23
 6             THE VIDEOGRAPHER:        The time is 1:24 p.m.                  01:23
 7   and we are back on the record.                                            01:23
 8                                 (Exhibits 1603 marked                       01:23
 9                                 for identification.)                        01:23
10           FURTHER EXAMINATION BY MR. ROBINSON                               01:23
11             MR. ROBINSON:       Q.   Mr. Benner, we're back.                01:23
12             Before the break we were talking about the                      01:23
13   tracking studies.
              studies.                                                         01:24
14             I'm going to hand what you has been                             01:24
15   premarked as Exhibit 1603.         This is entitled                       01:24
16   Samsung Q1 '11 Deep Dive, Continuous Tracking,
                                          Tracking with                        01:24
17   Bates stamp SAMNDCA00352115 through 352182.                               01:24
18             Do you recognize Exhibit 1603?                                  01:24
19        A.   Yes.                                                            01:24
20        Q.   Is that your name on the bottom of the                          01:24
21   first page where it says "Owner"?                                         01:24
22        A.   Yes.                                                            01:24
23        Q.   What does that mean?                                            01:24
24        A.   That means I am the designated "Owner" of                       01:24
25   this document in terms of whose responsibility it                         01:25


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                                                                           Page 128
 1   is to, you know, produce it.                                              01:25
 2          Q.   Is this one of the tracking studies that                      01:25
 3   you referred to earlier in your testimony today?                          01:25
 4          A.   Yes, it is.                                                   01:25
 5          Q.   Is Exhibit 1603 a true and correct copy of                    01:25
 6   an STA tracking study?
                     study                                                     01:25
 7          A.   To the best of my knowledge, yes.                             01:25
 8          Q.   Does STA prepare these tracking studies?
                                                 studies                       01:25
 9               MS. CARUSO:    Objection:      Vague.                         01:25
10               THE WITNESS:     These studies are prepared                   01:25
11   by an outside vendor under my supervision.
                                   supervision                                 01:25
12               MR. ROBINSON:     Q.   What is the outside                    01:25
13   vendor?                                                                   01:25
14          A.   The outside vendor's name is Hall &                           01:25
15   Partners.                                                                 01:25
16          Q.   How often does STA receive a deliverable                      01:25
17   from Hall & Partners in the form of one of these                          01:25
18   tracking surveys?
                     ?                                                         01:25
19               MS. CARUSO:    Objection:      Vague.                         01:25
20               THE WITNESS:     These tracking surveys are                   01:25
21   every quarter.
           quarter.                                                            01:25
22               MR. ROBINSON:     Q.   And by "these," are you                01:25
23   referring to the Deep Dive?
                               ?                                               01:25
24          A.   I am referring to the Deep Dive document,
                                                         ,                     01:26
25   yes.                                                                      01:26


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                                                                           Page 129
 1        Q.    Are there other tracking
                                t        studies provided
                                                 pr
                                                  rov
                                                    vided                      01:26
 2   by Hall & Partners -- sorry.          Strike that.                        01:26
 3              Are there other tracking surveys other                         01:26
 4   than the Deep Dive Surveys that STA receives?
                                         receives                              01:26
 5              MS. CARUSO:     Objection:      Vague.                         01:26
 6              THE WITNESS:      Technically this is not a                    01:26
 7   survey, this is a report.          There is one survey that               01:26
 8   is done continuously and there are multiple                               01:26
 9   reports.                                                                  01:26
10              MR. ROBINSON:      Q.   Thank you for that                     01:26
11   clarification.                                                            01:26
12              Is the Deep Dive Report the -- are there                       01:26
13   other reports besides the Deep Dive Report that STA                       01:26
14   receives in connection with this continuous                               01:26
15   tracking?
           ng                                                                  01:26
16        A.    Yes.                                                           01:26
17        Q.    What are those?                                                01:26
18        A.    We get weekly reports that are Topline KPI                     01:26
19   studies -- not studies, but reports/monitoring, and                       01:26
20   anything else on a request basis that we would like                       01:26
21   from the data within the reports, or within the                           01:27
22   survey.                                                                   01:27
23        Q.    You referred to
                              o Topline KPA.
                                        KPA            What does               01:27
24   KPA stand for?
               for?
               for                                                             01:27
25        A.    KPI.                                                           01:27


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                                                                           Page 130
 1        Q.    Sorry, KPI?                                                    01:27
 2        A.    Key Performance Index.                                         01:27
 3        Q.    And you mentioned that you receive weekly                      01:27
 4   reports.                                                                  01:27
 5              Do the Deep Dive reports contain the                           01:27
 6   information that you would receive in the weekly                          01:27
 7   reports?                                                                  01:27
 8        A.    Yes.   They are basically -- the data                          01:27
 9   that's given on a weekly basis is                                         01:27
10   contained/summarized in these reports.
                                   reports.                                    01:27
11        Q.    You also mentioned that you receive other                      01:27
12   reports on request.       Can you name a few of those,
                                                          ,                    01:27
13   an example?
               ?                                                               01:27
14        A.    Typically they're not reports, they're                         01:27
15   just looking at a particular data cut, usually in                         01:27
16   response to a question from out of this document.                         01:27
17        Q.    Can you think -- are they named anything                       01:27
18   in particular?                                                            01:28
19        A.    No.    They're usually just data.                              01:28
20        Q.    Are they large documents, or like one,                         01:28
21   two-page things?                                                          01:28
22        A.    Sometimes it's two sentences.
                                   sentences.                                  01:28
23        Q.    How much does STA pay to receive the
                                                   e Deep                      01:28
24   Dive reports from Hall & Partners?
                                      ?                                        01:28
25        A.    The cost has changed over time.                                01:28


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 1             THE WITNESS:       It's just a highlight of                     01:43
 2   those particular elements or those personalities to                       01:43
 3   draw attention to it.                                                     01:43
 4             MR. ROBINSON:       Q.   Do you see where it                    01:43
 5   says "Significant drivers of MPSA for Samsung"?
                                           Samsung"
                                                  "?                           01:43
 6        A.   Yes.                                                            01:43
 7        Q.   What does MPSA refer to?
                                    to                                         01:44
 8        A.   It's an acronym which we use for one of                         01:44
 9   KP -- key performance indexes which stands for most                       01:44
10   preferred single answer.                                                  01:44
11        Q.   And what does that mean, in just sort of                        01:44
12   survey terms?                                                             01:44
13        A.   In English, it means the answer to the                          01:44
14   question.    The question is actually in the text at                      01:44
15   the bottom of the page.                                                   01:44
16        Q.   I see?                                                          01:44
17        A.   Now we'd like you to -- it's not,                               01:44
18   actually.                                                                 01:44
19             I'll find it.       It's here.      It's the answer             01:44
20   to a specific question.
                   question.                                                   01:44
21             "Among all of the mobile phone brands that                      01:44
22   you aware of, which brand do you prefer the most."                        01:44
23        Q.   What's the Bates number of the page you                         01:44
24   just read from?                                                           01:44
25        A.   It is page number 7, SAMNDCA00352121.                           01:44


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 1        Q.    Thank you.                                                    01:45
 2              Why does STA consider the items shown in                      01:45
 3   the blue box on page 12 that we were looking at                          01:45
 4   previously
              y to be significant drivers of MPSA for                         01:45
 5   Samsung?                                                                 01:45
 6        A.    That's slightly misleading in what it                         01:45
 7   says.    They're significantly associated with the                       01:45
 8   personality characteristics that are most                                01:45
 9   correlated to most preferred single answer.                              01:45
10              Does that make sense?                                         01:45
11        Q.    Could you maybe say that in more regular                      01:45
12   terms?                                                                   01:45
13              MS. CARUSO:     Objection.                                    01:45
14              THE WITNESS:     I don't know if I can.          It's         01:45
15   a lot of statistical analysis.                                           01:45
16              MR. ROBINSON:      Q.   Sure.                                 01:45
17        A.    That basically says that these personality                    01:45
18   indices co-vary with MPSA.         There's no causal                     01:46
19   relationship, it just means they're correlated,
                                                   ,                          01:46
20   they seem to move together.                                              01:46
21        Q.    I see.                                                        01:46
22              Could I have you turn please to page 26 of                    01:46
23   this report Bates SAMNDCA00352140.                                       01:46
24        A.    352140.                                                       01:46
25        Q.    352140?                                                       01:46


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                                                                           Page 143
 1         A.   Okay.                                                          01:46
 2         Q.   Down at the bottom it looks like the                           01:47
 3   question being asked was, "Have you seen this                             01:47
 4   advertising on television in the past 7 to 5 days,"                       01:47
 5   do you see that?                                                          01:47
 6         A.   Yes.                                                           01:47
 7         Q.   Is that the question?                                          01:47
 8         A.   It's actually 5 to 7 days.
                                     days.                                     01:47
 9         Q.   Oh, I'm sorry, 5 to 7 days.
                                      days.                                    01:47
10              And then above the charts we see a legend                      01:47
11   with a blue box and an A next to it,
                                        , and it                               01:47
12   attributed back to Samsung/Galaxy/Tab;
                                          ; below that                         01:47
13   the letter B with a green box saying attributed                           01:47
14   back to Apple/iPad/iPhone,
                              , and underneath there are                       01:47
15   various charts.                                                           01:47
16              Focusing on the chart above the                                01:47
17   Samsung/Galaxy/Tab,
     Samsung/Galaxy/Tab , what is being depicted in that                       01:47
18   chart?                                                                    01:47
19         A.   This is the -- during the period of the                        01:47
20   survey, looking AT consumers who recognized still                         01:47
21   photos of the particular Samsung Galaxy Tab ad                            01:48
22   which is in the bottom here, so they're presented a                       01:48
23   photo which shows basically stills of the different                       01:48
24   ads and they're asked if they recognize it or not.                        01:48
25              If they say yes, they're asked, "Do you                        01:48


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 1   remember what brand this was for," and then it says                      01:48
 2   that 18 percent said it was for either Samsung,                          01:48
 3   Galaxy or Tab and 46 percent said Apple, iPad or                         01:48
 4   iPhone.                                                                  01:48
 5        Q.   And that's a significant difference at the                     01:48
 6   95 percent confidence level,
                           level right?                                       01:48
 7        A.   Correct.                                                       01:48
 8        Q.   What this is saying is essentially
                                                y nearly                      01:48
 9   half of those who saw the still photo of the                             01:48
10   Samsung Galaxy Tab thought they were actually                            01:48
11   looking at an Apple advertisement?                                       01:48
12        A.   No, that's not correct.          They were not                 01:48
13   looking at a photo of the Galaxy Tab, they were                          01:48
14   looking at a photo which showed six different                            01:48
15   scenes of the communication, the advertisement for                       01:49
16   the Galaxy Tab.     Not all of them had product in the                   01:49
17   different images.                                                        01:49
18        Q.   Those who saw -- is it at photo array what                     01:49
19   they see?   What do they see?                                            01:49
20        A.   They see six different images of different                     01:49
21   scenes within the advertisement.
                       advertisement.                                         01:49
22        Q.   And, looking at that display, then nearly                      01:49
23   half of those responded to this survey question                          01:49
24   saying that they thought what they were seeing was                       01:49
25   an Apple advertisement;
                           ; is that right?                                   01:49


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 1        A.   What they were looking at -- they were not                     01:49
 2   looking at the display at this point.            They're                 01:49
 3   relying on the recall of the advertisement and                           01:49
 4   saying they thought that the advertisement in                            01:49
 5   question was either an Apple iPad or iPhone                              01:49
 6   advertisement.                                                           01:49
 7        Q.   So, yes, in response to this prompt then,                      01:49
 8   looking at -- having looked at the display of the                        01:50
 9   Samsung Galaxy Tab still photo advertisement                             01:50
10   images, nearly half of the respondents said they                         01:50
11   thought they had seen an Apple advertisement?                            01:50
12        A.   What they thought, they said, was it was                       01:50
13   an advertisement for the Apple brand.                                    01:50
14             In this case, this was done at a time when                     01:50
15   the Galaxy Tab had just been introduced and the                          01:50
16   iPad had been in the market for some time, and this                      01:50
17   is -- the sample that we're looking at here is a                         01:50
18   smaller sample, so there is more variation in                            01:50
19   there.                                                                   01:50
20        Q.   What was the sample size?                                      01:50
21        A.   For the people who recognized the                              01:50
22   Galaxy -- the Samsung Tab ad, 448.                                       01:50
23        Q.   But this result shows, does it not, that                       01:51
24   the misattribution back to Apple was significant at                      01:51
25   the 95 percent confidence level,
                               level right?                                   01:51


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                                                                          Page 146
 1        A.   Yes.                                                           01:51
 2        Q.   Did STA consider it a problem that
                                                t the                         01:51
 3   Galaxy Tab advertisement was being misattributed to                      01:51
 4   Apple?                                                                   01:51
 5        A.   The -- as the statement here says, the                         01:51
 6   linkage to Samsung has improved, but the Galaxy Tab                      01:51
 7   execution -- misattribution was declined -- I'm                          01:51
 8   sorry, this is looking at Galaxy 2.            Strike -- I               01:51
 9   can't say strike that.                                                   01:51
10             But, yes, we considered it a problem                           01:51
11   because this communication should have been for the                      01:51
12   Galaxy Tab.    However, the execution was not being                      01:51
13   attributed correctly to Samsung.                                         01:51
14        Q.   What did STA do, if anything, about the                        01:51
15   misattribution that was occurring between the                            01:52
16   Galaxy Tab and the Apple iPad?                                           01:52
17             MS. CARUSO:      Objection:      Beyond the scope;             01:52
18   lacks foundation.                                                        01:52
19             THE WITNESS:      In this case, this was --                    01:52
20   Samsung was breaking into the tablet market which                        01:52
21   was firmly established for a period of time by                           01:52
22   Apple being the only product available.             I can't              01:52
23   remember exactly how many months that, basically,                        01:52
24   stronghold held.                                                         01:52
25             For the Galaxy, the first Galaxy Tab ad                        01:52


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 1   there was a great deal of misattribution.              For the           01:52
 2   second Galaxy Tab ad, that misattribution dropped                        01:52
 3   as awareness of Samsung's Tabs grew, so looking                          01:52
 4   back and improving the communication to make sure                        01:52
 5   that it was distinctive from Apple and identifiable                      01:52
 6   as Samsung.                                                              01:52
 7        Q.   Didn't the advertising change as well --                       01:52
 8   the style of the advertising change as between the                       01:53
 9   Galaxy Tab and Galaxy Tab 2, right?                                      01:53
10             MS. CARUSO:      Objection:      Assumes facts not             01:53
11   in evidence; vague.                                                      01:53
12             THE WITNESS:      Can you specify more exactly                 01:53
13   what you're asking?                                                      01:53
14             MR. ROBINSON:       Q.   The misattribution that               01:53
15   occurred between the Samsung Galaxy Tab                                  01:53
16   advertisement and I guess misattributed to Apple,
                                                     ,                        01:53
17   that was because the advertisements were confusing,
                                                       ,                      01:53
18   they were similar,
                      , the Samsung advertisements and                        01:53
19   Apple advertisements?                                                    01:53
20             MS. CARUSO:      Objection:      Calls for a legal             01:53
21   conclusion; mischaracterizes the record; assumes                         01:53
22   facts not in evidence; vague.                                            01:53
23             THE WITNESS:      I take issue with your                       01:53
24   statement of it's confusing, the way it was said                         01:53
25   similarly confusing.       The issue wasn't that it was                  01:53


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 1   confusing, the issue was that the iPad had been                          01:53
 2   very firmly established in the marketplace, and so                       01:53
 3   when people saw an ad on TV that had a large                             01:53
 4   tablet-like display, the immediate reaction is it                        01:54
 5   must be an iPad.                                                         01:54
 6             This is at a time when -- breaking into                        01:54
 7   the market, so it's actually not unexpected to see                       01:54
 8   that, because very few people that Samsung was                           01:54
 9   making these products, and growing that awareness,
                                                      ,                       01:54
10   changing from one to the next, is the natural                            01:54
11   progression of trying to break in and make people                        01:54
12   become more aware of Samsung as a tablet                                 01:54
13   manufacturer.                                                            01:54
14        Q.   Does STA disagree that the misattribution                      01:54
15   occurred because the Galaxy Tab looked similar to                        01:54
16   the Apple iPad?                                                          01:54
17             MS. CARUSO:      Objection:      Beyond the scope;             01:54
18   lacks foundation.                                                        01:54
19             THE WITNESS:      I'm sorry, could you say it                  01:54
20   again?                                                                   01:54
21             MR. ROBINSON:       Q.   Could we have that                    01:54
22   question read back, please.                                              01:54
23             THE REPORTER:       Question:     "Does STA                    01:54
24   disagree that the misattribution occurred because                        01:54
25   the Galaxy Tab looked similar to the Apple iPad?"
                                                iPad?
                                                    ?"                        01:54


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                                                                          Page 149
 1             MS. CARUSO:      Objection:      Beyond the scope;             01:55
 2   lacks foundation; mischaracterizes the record.                           01:55
 3             THE WITNESS:      Could you rephrase the                       01:55
 4   question.   I'm confused by the "Does STA disagree."                     01:55
 5   The negative phrasing of the question is throwing                        01:55
 6   me off.   I'm not sure what you're asking.                               01:55
 7             MR. ROBINSON:       Q.   Do you agree that the                 01:55
 8   Galaxy Tab looks similar to the Apple iPad?                              01:55
 9        A.   In this case, this Galaxy Tab does not.                        01:55
10        Q.   Why is that?                                                   01:55
11        A.   It's half the size.                                            01:55
12                                 (Exhibit No. 1604-1613                     01:55
13                                  marked for identification.)               01:55
14        Q.   I think -- I want to show you a bunch of                       01:55
15   other documents.      I'm not going to ask you detailed                  01:55
16   questions about them.                                                    01:55
17             What I'm going to ask is do you recognize                      01:55
18   this documents, do they have your name on them, and                      01:55
19   are they true and correct copies of the documents                        01:56
20   that they are.     They have been premarked as                           01:56
21   Exhibits 1604 through 1613, and I'll place this                          01:56
22   enormous stack in front of you, and -- counsel,                          01:56
23   here's your copy.      And I think we can probably take                  01:56
24   this in two phases if we wanted to go through it                         01:56
25   more quickly.                                                            01:56


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                                                                          Page 170
 1             MS. CARUSO:      Objection:      Lacks foundation;             02:34
 2   calls for speculation.                                                   02:34
 3             THE WITNESS:      It would be the strategy                     02:34
 4   group.                                                                   02:34
 5             MR. ROBINSON:       Q.   Who is involved with                  02:34
 6   the strategy group?                                                      02:34
 7        A.   As mentioned earlier, Justin Denison and                       02:34
 8   his team.                                                                02:34
 9        Q.   Thank you.                                                     02:34
10             I have no further questions at this time,                      02:34
11   subject to the same reservations and the same                            02:34
12   objection by counsel --                                                  02:34
13             MS. CARUSO:      Yes.    This time we're getting               02:34
14   out of here.                                                             02:34
15             THE VIDEOGRAPHER:        This marks the end of                 02:34
16   Disk Number 2 of 2, and concludes today's                                02:34
17   deposition of Timothy Benner.          The time is                       02:34
18   2:35 p.m., and we are off the record.                                    02:34
19                                 (The deposition adjourned
20                                  at 2:35 p.m.)
21                              --oOo--
22

23                   Signed under penalty of perjury:
24                       __________________________
25                             Timothy Benner


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